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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                CRIMINAL MINUTES - GENERAL




 Case No.          SACR 19-61-JVS                                                                Date     August 27, 2021


 Present: The Honorable        JAMES V. SELNA, U.S. DISTRICT COURT JUDGE
 Interpreter

                Lisa Bredahl                        Not Present                                         Not Present
            Deputy Clerk                       Court Reporter/Recorder                       Assistant U.S. Attorney


                 U.S.A. v. Defendant(s):          Present Cust. Bond           Attorneys for Defendants:         Present App. Ret.

Michael John Avenatti, Pro Se                      NOT            X       Dean Steward,
                                                                          Standy by Counsel                       NOT           X



 Proceedings:        [IN CHAMBERS] MINUTE ORDER RE TIME QUALIFIED JURY


              For the initial trial, the jury was time qualified. Excuses were granted on the basis
of a juror’s response to a questionnaire. There was no direct intervention of a judicial officer.
When jurors appeared for the first day of trial, the Court read a statement of the case. A short
questionnaire regarding hardship was distributed. Out of the presence of other jurors, the Court
then heard hardship requests in the presence of counsel and the defendant.

           The defendant is ordered to show cause in writing no later than September 10,
2021 why the Court should no proceed in the same fashion for the upcoming trial. The
Government may file a response no later than September 17, 2021.

                     Attached is an exemplar of the letter sent to jurors which explains the questionnaire
process.


                                                                                                                 :          0

                                                                      Initials of Deputy Clerk     lmb




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                                                   United States District Court
                                                        Central District of California        Cristina M. Squieri Bullock
                                                                                              Chief Deputy of Administration
                                                       Office of the Clerk                    350 West 1st Street, Suite 4311
                                                                                                 Los Angeles, CA 90012

                    Kiry K. Gray                                                                    Sara Tse Soo Hoo
       District Court Executive / Clerk of Court                                                Chief Deputy of Operations
            350 West 1st Street, Suite 4311                                                 255 East Temple Street, Suite TS-134
                Los Angeles, CA 90012                                                             Los Angeles, CA 90012


    FIELD(PART_NO)                                                                   DATE
    @FIELD PART NO @
    FIELD(FNAME) FIELD(LNAME)
    FIELD(ADDRESS)
    FIELD(CITY), FIELD(STATE) FIELD(ZIP)

    Dear Prospective Juror:

    You have been randomly selected from the records maintained by the Registrar of Voters or the Department of
Motor Vehicles (DMV) for possible service as a juror in the United States District Court, Central District of California
(Southern Division) in Santa Ana.

      On Wednesday, July 7, 2021, jurors will report for one (1) day to the United States District Court to fill out a
case-specific questionnaire. On Tuesday, July 13, 2021, the United States District Court will begin jury selection for
a trial that is expected to last 15 court days, plus deliberations. The Court is in the process of compiling a pool of
150 prospective jurors available to serve on this case and would like to know if you are available.

    As a prospective juror summoned to appear, you will receive a $50.00 attendance fee per day and 56¢ per mile
round trip.

!     The qualification questionnaire is available for you to complete online on the jury website at
      www.cacd.uscourts.gov/jury. If you do not have access to the internet and require a Questionnaire in paper
      format, please call 1 (855) 872-0933. You must complete the questionnaire.

!     In order to be available you must be free of any commitments that cannot be changed, such as critical medical
      appointments, prepaid vacation plans, etc., from Tuesday, July 13, 2021 through Friday, August 6, 2021 for
      trial and for deliberations thereafter. Complete the online questionnaire immediately.

               LJurors available for this trial will receive a summons and instructions prior to the report date.

!     Stating that you are self-employed or that your employer will not pay for jury service is not sufficient to be
      excused. You must provide details concerning the nature of the hardship that serving as a juror for this amount
      of time would impose. Complete the questionnaire immediately. Please note that you may be called for
      shorter trials.

!     All jurors must verify their status at least five days before reporting for service by calling (800) 327-3296 or
      accessing the Court's website ( www.cacd.uscourts.gov/jury ).



                                                                        Respectfully,
                                                                        Maria Rodriguez, Jury Supervisor
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                                      GROUNDS FOR REQUESTING EXCUSE

1.   If you are asking to be excused because you care for children or another dependant, and you are employed,
     please provide a detailed explanation describing your work arrangements and the type of care you are
     providing.

2.   If you act as a volunteer firefighter or member of a rescue team for a local or federal government you may
     request to be excused. Please provide a statement in the “Remarks section” of the jury qualification
     questionnaire.

3.   If you are claiming a business, employment, or financial hardship you must provide the following: (a)
     employer’s name, (b) occupation or job title, (c) number of employees who work for the company and number in
     your department or unit, (d) number of days paid for jury service, (e) number of people living in your household
     (provide ages), (f) number of people in your household who are employed, (g) total monthly income from all
     sources, (h) total major monthly expenses and (i) additional facts to further explain your situation.

4.   You may postpone your jury service up to 12 months from the time you were initially called.

                                        FREQUENTLY ASKED QUESTIONS

C    I was just called for jury service. Why am I being called again?

     You will be excused on the basis of prior jury service if you actually heard testimony within the past 12 months.
     If you participated in the jury selection process but were not selected, you cannot claim this excuse. Please fax
     proof of your prior jury service to 213-894-3751 or submit it by email to jury@cacd.uscourts.gov.

C    I’m not a U.S. Citizen. Do I have to serve?

     Please complete your Juror Qualification Questionnaire online at www.cacd.uscourts.gov/jury. You will be
     given the opportunity to indicate you are not a U.S. Citizen. Once you submit the questionnaire, the court will
     automatically excuse you.

C    I don’t speak English. What do I do?

     Please complete your Juror Qualification Questionnaire online at www.cacd.uscourts.gov/jury. The
     questionnaire includes questions related to a juror’s ability to read, write and understand the English language.
     After reviewing your questionnaire, the court will determine if you will be excused on this basis.

C    I have moved out of the area. What do I do?

     Please complete your Juror Qualification Questionnaire online at www.cacd.uscourts.gov/jury and update your
     address. If the court establishes you are no longer in our jurisdiction, you will be excused.

C    This person is deceased. What do I do?

     Please complete the Juror Qualification Questionnaire online at www.cacd.uscourts.gov/jury. You will be given
     the opportunity to indicate the juror is deceased. If you do not have access to a computer, please write “RTS,”
     (stands for Return to Sender) on the outside of the envelope, reseal the envelope and return it to the court.

C    How will I be notified of the status of my excuse/postponement request?

     If you provided an email address at the time you submitted your online questionnaire, the court will notify you
     via email if your request to be excused or postponed is granted. You may also check your status 5 days before
     your report date by calling (800) 327-3296 at any time or by accessing the Court’s website.
